                            Case 1:23-cv-02018-FB-VMS Document 1-1 Filed 03/16/23 Page 1 of 4 PageID #: 10
                                                         Exhibit A to the Complaint
Location: Brooklyn, NY                                                                                  IP Address: 70.23.97.184
Total Works Infringed: 37                                                                               ISP: Verizon Internet Services
 Work      Hashes                                                                UTC             Site          Published      Registered   Registration
 1         Info Hash: 37B79D5889FE5985783BA9458C88F6912DEE7A29                          02-23-   Vixen         09-24-2021     11-11-2021   PA0002321289
           File Hash:                                                                     2023
           FD9180F36314B4F5A595516A24F03518B9D624AF60D2044C211118CE83C2AB94           17:43:47
 2         Info Hash: 86C18487578E45172FA87A102FA37E2660FFF7A3                          02-23-   Vixen         09-09-2022     10-05-2022   PA0002373766
           File Hash:                                                                     2023
           C69D40874320AA3D5184A284181943DF96513ED55CAF687E769D5A7EA14C162F           17:40:42
 3         Info Hash: 21E212CA2738BBAC40B37DD6A175495A6C6F49C3                          02-23-   Tushy         01-08-2023     01-27-2023   PA0002393072
           File Hash:                                                                     2023
           2808CECE7508F6BED35A98444B7B848E83AC0FAE596C000D698F779AA1566738           17:29:34
 4         Info Hash: F669C203F77A39DD0365D83D1980F21A3EC86784                          02-07-   Slayed        11-30-2021     12-03-2021   PA0002333380
           File Hash:                                                                     2023
           4954270727A55DA8F36D25260C5FD8F5FA6150B09CF9409A45BF77E5EC196237           04:12:16
 5         Info Hash: 0C6E4D82DF6DDE18C837BD4DD5410E8E7B739390                          02-07-   Slayed        09-23-2021     11-01-2021   PA0002326412
           File Hash:                                                                     2023
           730BFAA5598C4A6A3D14A4EBE83A32BDA3F91DFA85CB0DFD4BC28B0F3453AA82           03:38:10
 6         Info Hash: A6F22F651758975DB63BD4D4687C87E151C56142                          02-07-   Slayed        10-07-2021     11-01-2021   PA0002326408
           File Hash:                                                                     2023
           9D60212D318267FEEF215F44044707DE7221244E00C8F004AE89179F7E984AD5           02:21:38
 7         Info Hash: 196A8879B8F26C1F6342DAA6E71EFFB73FD7DA60                          02-07-   Slayed        10-28-2021     12-03-2021   PA0002333378
           File Hash:                                                                     2023
           D55C6C85D53A56FFB992C8BBC7002F3CEFBD1BA90A0F40A6C3C5CF7B8B47F3C2           02:16:26
 8         Info Hash: 7ECCE63B9FD1F268575878B922B6670B56CBB641                          02-07-   Slayed        01-25-2022     02-03-2022   PA0002341780
           File Hash:                                                                     2023
           2D758C22B15C62121DDDC23AF6B1DF791DEA87861E7EE2B99EA7D5C4BC78DFAF           01:57:47
 9         Info Hash: 2123EB296B10E80D721BB25D2C0074E75CAEF3E6                          02-07-   Slayed        12-21-2021     01-07-2022   PA0002337942
           File Hash:                                                                     2023
           FF01AC2CB5D9D764CB13C9A27293C069360A3152E28E6AC72D93C9BBA82972D5           01:51:57
 10        Info Hash: FC36D13620B85CCE9D9BA2992B2246E4002463DD                          02-07-   Slayed        02-22-2022     03-04-2022   PA0002345461
           File Hash:                                                                     2023
           27E37F140F3F4FEBD1B2C1DF8D303B221A18BD99A64F63072769980136C22CD6           01:34:25
 11        Info Hash: 4D63B8107ECB08BC2363E00D8CA2F2A570D981F1                          02-07-   Slayed        12-07-2021     01-07-2022   PA0002337491
           File Hash:                                                                     2023
           9AC9292886DB9820048DF3E26DF9761CB8DFF0735AC13E7A17CEB465F1C959BD           01:09:12
                       Case 1:23-cv-02018-FB-VMS Document 1-1 Filed 03/16/23 Page 2 of 4 PageID #: 11

Work   Hashes                                                             UTC         Site     Published    Registered   Registration
12     Info Hash: 121170F1552B3251C236FECFEA5F0DCC9C909286                   02-07-   Slayed   11-23-2021   12-03-2021   PA0002333377
       File Hash:                                                              2023
       BA4FDD90CD82EE1199B8954F25C67E2B7057E376EEE72D8C259010CF17A80A6A    00:50:19
13     Info Hash: 8F50B923A4FDEECF032A17004AE5FBFAA0E80C41                   02-07-   Slayed   01-04-2022   02-03-2022   PA0002341800
       File Hash:                                                              2023
       E9867D546A534D54F7D9D42EE5A6B4B943BCEB0272389C79E7E73CBBDD81CB28    00:35:53
14     Info Hash: 1A5A670CF46ED5D03AE896DDF0E153014625C408                   02-07-   Slayed   03-29-2022   04-21-2022   PA0002353060
       File Hash:                                                              2023
       834637AC6399715ADC8BD14F21D4B3D6B16E0E386F935297482D793DB70375F1    00:34:47
15     Info Hash: 82EBE8F0D8C946B2FB88C575A22A096DD6E5A99C                   02-07-   Slayed   05-24-2022   06-09-2022   PA0002361291
       File Hash:                                                              2023
       96F5CC9B9AD995DB9E371BF88276AA8961566CC401F74AD787FF88D7EB69F046    00:32:06
16     Info Hash: 21F31CFAE9D279D3D0390B2CF01EFDC039A85642                   02-07-   Slayed   06-21-2022   07-21-2022   PA0002367486
       File Hash:                                                              2023
       F6A418E15C14DA363ABFD03EFF7EA4B971366E1626B46413503CB72ECD99D3AF    00:31:07
17     Info Hash: 867243265EC951A36666CC3ECB3EE588E81CE8B0                   02-07-   Slayed   03-15-2022   04-21-2022   PA0002353059
       File Hash:                                                              2023
       B2299E20FD59E1371F994BB35229041AA332DD598679E1FC2CF8394FAB446176    00:29:01
18     Info Hash: 48FE68C4E654092E80DC36165F6BE0E3CCCF3586                   02-07-   Slayed   05-17-2022   06-09-2022   PA0002361673
       File Hash:                                                              2023
       F2CB3B54D4E2900E59A7EF71DBE031FBF8B9413C7821D5DDAA7A6B761852EE45    00:10:34
19     Info Hash: F0DBD44C44CD6A1827AA2945C184F1549D0AF018                   02-07-   Slayed   11-04-2021   12-03-2021   PA0002333371
       File Hash:                                                              2023
       3390883B77DBF4484DEB987E5A07FDD9C70F25511AC71D098F25F8C614ED65F6    00:05:15
20     Info Hash: F6B84AB416F34CB9BE79EDA365317979F4A220C5                   02-07-   Slayed   02-01-2022   03-04-2022   PA0002345792
       File Hash:                                                              2023
       0FB78F55714EA23950972B09E842D7197F8578D153687E120421211BDCD7EC70    00:05:14
21     Info Hash: E2086F3C551329D567047890A9AE07ED50ADC4F2                   02-07-   Slayed   03-22-2022   04-21-2022   PA0002353052
       File Hash:                                                              2023
       7561B3C94BF63220BA8C558AE286B8CEC046152CD34CD4ABCAF64BA3DA2DD725    00:03:23
22     Info Hash: 46F6027225BFB97CE89E156C20492575CBF599E4                   02-07-   Slayed   04-26-2022   06-09-2022   PA0002361665
       File Hash:                                                              2023
       EEAC84CFAE784318D8124CF4504833E4981116596CC25B40CCAC58D8B2B51038    00:03:22
23     Info Hash: 2F86F195B88FD98B860AFDEAC7E77751B69817D4                   02-07-   Slayed   04-05-2022   04-21-2022   PA0002353031
       File Hash:                                                              2023
       81316E3ADE4C324060D797EC9AEB653AFAE6A30D256297E3157182A12758EF75    00:02:14
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 1BCA28F670A68A125751AFE39EB75D4DBB40604D                   02-07-   Slayed    05-10-2022   06-09-2022   PA0002361671
       File Hash:                                                              2023
       64ADEC57ABFADD4767708E5CE36548E72858D64704D9DF8E6F0397EA4F0110BB    00:02:14
25     Info Hash: 5E1A3D6AF4978D54F4CA411DD5E35C28CEA65F7E                   02-07-   Slayed    05-03-2022   06-09-2022   PA0002361668
       File Hash:                                                              2023
       54E74E8CE0E0223D73778B4CD8130E81E18919913668488D461F71BA75FCC39F    00:02:11
26     Info Hash: 7FCAEB64C30D312D0368A0EE2B96DDD7DA8C5323                   02-07-   Slayed    06-28-2022   07-21-2022   PA0002367493
       File Hash:                                                              2023
       4A5C45BE11FB5C74ECE3BECC42D46EBECB9DC303828B7ADFA1687339E4E148AA    00:00:19
27     Info Hash: 978F02B3211A09F06F3B32AF90AAC8DCAA0B8552                   02-06-   Slayed    07-05-2022   07-21-2022   PA0002367492
       File Hash:                                                              2023
       3BFDF62D7AA88096A2A563100C318BE1EB5EE3668F705B04A7D26CF04DAC8182    23:59:22
28     Info Hash: A8670A980AB0CBD3701C12B71FFECDDB4BA04742                   02-06-   Slayed    04-19-2022   06-09-2022   PA0002361531
       File Hash:                                                              2023
       AF5240E67D5552F16C541E32C6667F96D5EED2BA1D0C6447D1C5A5AC3DF3C214    23:25:30
29     Info Hash: 1E098BFD1E70D59242134EEA731CD2397EEA2DBE                   02-06-   Slayed    08-16-2022   09-22-2022   PA0002378429
       File Hash:                                                              2023
       EF30700ECCCB3617D9A68E2948B72012052401663B228B25829C63CA2EF1E2CA    23:22:22
30     Info Hash: 81F4FC9F3D6F0EA957C012DD01339B53AD36D08C                   02-06-   Slayed    08-09-2022   10-05-2022   PA0002378461
       File Hash:                                                              2023
       631EA1B32E387702C99B6CD7B8EFA9FC888CA06A6BEB8936E165B6D2FA47E571    23:17:02
31     Info Hash: E407BFA23902A499603D293C26E77E3BF35B846F                   02-06-   Slayed    07-12-2022   08-10-2022   PA0002370897
       File Hash:                                                              2023
       0C2245E5C4B2FDAB2B8E897650DA01FCF80E1E7B3074B43E479FC32F07302E91    23:16:13
32     Info Hash: 4197846EE65A17BF75633B3B07DB631C578DC87D                   02-06-   Slayed    08-23-2022   09-22-2022   PA0002378513
       File Hash:                                                              2023
       C3399894A15A3E66141A950F8B3440534742C93C37640A7941FD7ACA0B5D4C5D    23:14:03
33     Info Hash: E392A850088C2E06ADE101186F9D079552FAEB39                   01-08-   Slayed    06-07-2022   07-21-2022   PA0002367487
       File Hash:                                                              2023
       BFC21BFB8625C29AB823AC2EC38B6C00D98930264846738738DBC7508BF4C346    04:12:45
34     Info Hash: 9E823BE29A822EE14697A7434DBD4D2769A27C02                   01-08-   Blacked   12-20-2022   01-09-2023   PA0002389608
       File Hash:                                                              2023   Raw
       6685691171B23A1E56F0E2A948A679EC1FAF4B206F3C69447895FF4652F535A2    04:02:49
35     Info Hash: 83C10AC3DC9C9413F496041CEB8C6179D6988EFA                   01-08-   Tushy     11-28-2021   02-14-2022   PA0002335497
       File Hash:                                                              2023
       E84F55F2C80B73918BAA690307D345546CA419A098701E1835E4CA41A03BA11D    02:46:40
                       Case 1:23-cv-02018-FB-VMS Document 1-1 Filed 03/16/23 Page 4 of 4 PageID #: 13

Work   Hashes                                                             UTC       Site     Published    Registered   Registration
36     Info Hash: 28C56D9BC6CA8BDBDEB7C00D4F5668060BE4C31C                   12-12- Slayed   03-08-2022   04-21-2022   PA0002353782
       File Hash:                                                              2022
       DD8991E54DE3AABF733AD60D9B26C24F79AB58A8A45B30A27307714AAD819A64    22:56:24
37     Info Hash: AE8B289AFFF64C753AA2C717FFA3C83A8218B65D                   12-07- Tushy    11-27-2022   12-11-2022   PA0002384751
       File Hash:                                                              2022
       ED300EB718FFF1ED54F124FA0DCDB64E6AFD1E470B0269D50872CE6413ADD235    00:21:01
